                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:20-CV-00564-GCM
 RUFUS ROAD PARTNERS, LLC,
 JANET B HAIGLER,
 RIVERCROSS CAPITAL, LLC,
 ROBERT F. ANDERSON,
 KLH ACQUISITION COMPANY,
 LLC,
 KEITH L HAWTHORNE,

                  Plaintiffs,

     v.                                                        ORDER

 ANTHONY JARRETT CALLAHAN,
 THE HOWEY CO., INC.,
 CAMDEN LAND CO., LLC,
 CALLAHAN GRADING, LLC,
 STGE INVESTMENTS, LLC,
 GRINDING SPECIALISTS OF THE
 CAROLINAS, LLC,
 DEEPE, LLC,
 FM CAPITAL, LLC,
 DAVID S HOWEY,
 GRINDING SPECIALISTS, LLC,
 HIGH TENSION RANCH, LLC,

                  Defendants.


          THIS MATTER comes before the Court on its own motion. The Court previously entered

an initial Pretrial Order, stating that a trial date would be set by separate order (ECF No. 47).

Having consulted the court’s schedule for 2023, the Court is now prepared to calendar this matter

for trial.

          IT IS THEREFORE ORDERED that the trial in this matter is set for the March 13, 2023

trial term.

          SO ORDERED.



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                        Signed: November 2, 2021




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